     Case 2:09-cr-00117-WFN    ECF No. 121    filed 12/29/09   PageID.339 Page 1 of 1




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5
                              UNITED STATES DISTRICT COURT
6                            EASTERN DISTRICT OF WASHINGTON
7
       UNITED STATES OF AMERICA,                )
8                                               )     CR-09-117-WFN-2
                           Plaintiff,           )
9                                               )
       v.                                       )     ORDER GRANTING UNOPPOSED
10                                              )     MOTION TO MODIFY CONDITIONS
       JOSE LUIS OLIVERA,                       )     OF RELEASE (Ct Rec 119)
11                                              )
                           Defendant.           )
12                                              )

13
14           As agreed upon by the parties, IT IS ORDERED that;

15           The Defendant’s Motion to Modify Release Conditions (Ct. Rec.

16    119)   is   hereby    GRANTED.    The   Defendant        shall   be   removed     from

17    electronic monitoring.       All other conditions of release entered on

18    September 4, 2009 shall remain in full effect.

19           DATED December 29, 2009.

20
                                   s/ CYNTHIA IMBROGNO
21                           UNITED STATES MAGISTRATE JUDGE

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     ORDER GRANTING UNOPPOSED MOTION
     TO MODIFY CONDITIONS OF RELEASE - 1
